Case 9:23-cr-80101-AMC Document 281 Entered on FLSD Docket 02/05/2024 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

          Plaintiff,
  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

          Defendants.
                                        /

                        SCHEDULING ORDER ON CIPA § 4 HEARINGS

          On February 12 and 13, 2024, the Court will conduct sealed, ex parte hearings pursuant to

  Section 4 of the Classified Information Procedures Act (CIPA) [ECF No. 215 p. 9; ECF No. 220].1

  These proceedings will be held in a facility suitable for discussion of the classified information

  contained within the parties’ Section 4 submissions [ECF Nos. 236, 264, 272, 275].              The

  anticipated schedule for the Section 4 hearings is set forth below:

       1. Monday, February 12, 2024:

          •   9:30 a.m. to 2:00 p.m. The Court will hear argument from defense counsel for all

              Defendants, outside the presence of the Special Counsel. Consistent with the Protective

              Orders entered on September 13, 2023 [ECF Nos. 151, 152], Defendants Nauta and De

              Oliveira may not be present. Defense counsel shall be prepared to discuss their defense

              theories of the case, in detail, and how any classified information might be relevant or




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   As stated in a prior Order, the Court reserves ruling on Defendants’ Motions for Access to
  CIPA § 4 Filings pending the completion of these hearings [ECF No. 254].
Case 9:23-cr-80101-AMC Document 281 Entered on FLSD Docket 02/05/2024 Page 2 of 2

                                                               CASE NO. 23-80101-CR-CANNON


               helpful to the defense. Defense counsel shall also be prepared to discuss Defendants’

               Motions for Access to CIPA § 4 Filings [ECF Nos. 237, 238] and Defendants’

               Challenges to the Special Counsel’s CIPA § 4 Motions [ECF Nos. 236, 264, 272, 275].

           •   3:00 p.m. to 5:00 p.m. The Court will hear argument from the Special Counsel,

               outside the presence of Defendants or defense counsel. The Special Counsel shall be

               prepared to discuss its CIPA § 4 Motions [ECF No. 236] and all follow-up items from

               the sealed, ex parte hearing held on January 31, 2024 [ECF No. 276].

        2. Tuesday, February 13, 2024: As previously ordered, the parties shall reserve February 13,

           2024, for further proceedings on their Section 4 submissions, as necessary

           [ECF No. 215 p. 9; ECF No. 220].

        3. As a separate matter, consistent with the Protective Orders entered in this case

           [ECF No. 151 ¶ 22(a); ECF No. 152 ¶ 22(a)], Defendants Nauta and De Oliveria shall file

           a public Notice of Filing on or before February 7, 2024, reflecting the classified

           submission referenced in their Challenge to the Special Counsel’s CIPA § 4 Motions

           [ECF No. 272 pp. 1–2].

           DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 5th day of February

  2024.

                                                          _________________________________
                                                          AILEEN M. CANNON
                                                          UNITED STATES DISTRICT JUDGE



  cc:      counsel of record




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